905 F.2d 1528Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Leonard Tyrone BUNN, Petitioner-Appellant,v.Edward W. MURRAY, Director, Virginia Department ofCorrections, Respondent-Appellee.
    No. 89-6639.
    United States Court of Appeals, Fourth Circuit.
    Submitted May 7, 1990.Decided May 15, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  J. Calvitt Clarke, Jr., District Judge.  (C/A No. 89-62-N)
      Leonard Tyrone Bunn, appellant pro se.
      Robert Harkness Herring, Jr., Assistant Attorney General, Richmond, Va., for appellee.
      E.D.Va.
      DISMISSED.
      Before ERVIN, Chief Judge, and CHAPMAN and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Leonard Tyrone Bunn seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate discloses that this appeal is without merit.*   Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Bunn v. Murray, C/A No. 89-62-N (E.D.Va. May 5, 1989).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    
      
        *
         This case was put in abeyance pending this Court's opinion in Kaufhold v. Jackson, No. 89-7539.  The unpublished decision in Kaufhold was issued on April 13, 1990.  In Kaufhold, we applied established precedent to reject a claim that denial of parole based on "the serious nature and circumstances of [the prisoner's] crimes" is unconstitutional.  (Slip op. at 2-3).  We are bound by these established rules in relation to Bunn's similar claim
      
    
    